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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------X
In re:

MOHAMMAD IMRAN HUSSAIN,
                                                                                    Case No.: 1-17-42083-ess
                                             Debtor,
----------------------------------------------------------------------------X
EMPIRE J INC.,

                                            Plaintiff,
                                                                                    Adversary Proceeding
                 -against-                                                          No.

MOHAMMAD IMRAN HUSSAIN,

                                             Defendant.
----------------------------------------------------------------------------X
               COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY AND
            OBJECTING TO DEBTOR’S DISCHARGE PURSUANT TO SECTIONS 523
                                   AND 727 OF THE BANKRUPTCY CODE

        Plaintiff –Creditor Empire J Inc. (the “Plaintiff”) by his attorneys, Law Offices of Morris Fateha,

P.C., as and for its Complaint against Defendant-Debtor Mohammad Imran Hussain (the “Debtor”)

respectfully shows to this Court and alleges, upon information and belief, as follows:

                                                   JURISDICTION

        1.       On April 27, 2017, the Debtor filed a voluntary petition (the "Petition") for relief under

chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") in the United States Bankruptcy

Court for the Eastern District of New York.

        2.       On July 13, 2017, the Debtor's duly-noticed meeting of creditors is scheduled to be held

pursuant to Section 341(a) of the Bankruptcy Code (the "Section 341 Meeting").

        3.       As of the date of this Complaint the Debtor has not been granted a discharge.

        4.       This Complaint is timely because the date by which a Complaint objecting to the Debtor's

discharge or to determine dischargeability of a debt expires on August 7, 2017.

        5.       This is an adversary proceeding in which the plaintiff-creditor is objecting to the Debtor's

discharge under Bankruptcy Code § § 727(a)(3) and 727(a)(4)(A) and is seeking a determination as to

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the dischargeability of the debt owed by the Debtor to plaintiff under Bankruptcy Code § §

523(a)(2)(A), 523(a)(4), 523(a)(6).

       6.        The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. § 1334

and Bankruptcy Code § § 523 and 727.

            7.     This case is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I) and 157(b)(2)(J).

                                                   PARTIES

       8.        Plaintiff is a business corporation organized under the laws of the State of New York, is

authorized to do business in the State of New York, and maintains its principal office at 55 West 47th

Street, Suite 310, New York, New York 10036.

       9.        Plaintiff is a creditor of the Debtor.

       10.       Defendant is the Debtor in the above-captioned case and at all relevant times has resided

at 1012 Avenue K, Apartment 3J, Brooklyn, New York 11230.

                                     THE STATE COURT LAWSUIT

       11.       Prior to October 30, 2015, Defendant, through his company, Arman Jewelers, Inc.,

became indebted to Plaintiff.

       12.       In connection with that debt, certain items of jewelry were used as collateral for the debt.

       13.       Specifically, on or about October 30, 2015, certain items of jewelry detailed in

“Memorandum 2172,” a copy of which is annexed hereto as Exhibit A, were agreed to be collateral.

These items included two 22 karat items.

       14.       Next, on or about November 5, 2015, certain items of jewelry detailed in “Memorandum

2178,” a copy of which is annexed hereto as Exhibit B, were agreed to be collateral. These items

included two 22 karat items.

       15.       Next, on or about November 12, 2015, certain items of jewelry detailed in “Memorandum

2183,” a copy of which is annexed hereto as Exhibit C, were agreed to be collateral. These items

included two 22 karat items.


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       16.      Finally, on or about November 25, 2015, certain items of jewelry detailed in

“Memorandum 2192,” a copy of which is annexed hereto as Exhibit D, were agreed to be collateral.

These items included two 22 karat items.

       17.      The items listed in the foregoing paragraphs are collectively referred to as the

“Collateral.”

       18.      Plaintiff’s security interest is evidenced by the four Memoranda annexed as Exhibits A

through D.

       19.      As of the present time, Defendant has failed, neglected and refused to pay his debt or

return the Collateral and, accordingly, Plaintiff was entitled to immediate possession of the Collateral.

       20.      The actual value of the Collateral transferred by Plaintiff to Defendant equals

$205,756.00.

       21.      Prior to the commencement of the State Court action, Plaintiff duly demanded payment

of the debt and possession of the Collateral from Defendant and Defendant failed, refused and neglected

to deliver same to Plaintiff. Evidence of this demand, and Defendant’s receipt thereof, is contained in

the letter annexed hereto as Exhibit E, where Defendant admitted the money owed to Plaintiff.

       22.      Upon information and belief, Defendant caused the Collateral to be melted down and sold

to a company named SDS Gold.

       23.      By virtue of the foregoing acts, conduct and omissions on the part of Defendant, Plaintiff

was entitled to damages totaling not less than $205,756.00.

       24.      To that end, on December 31, 2015, Plaintiff filed an action titled Empire J Inc. v. Arman

Jewelers, Inc., Razaq, Abdul Mohammad, Imran Hussain, Arman Traders, Inc., Arman & Ayan Trading

Inc., under index number 700000/2016 in the Supreme Court of the State of New York, County of

Queens (the “State Court Action”). A copy of the Complaint is annexed hereto as Exhibit F.

       25.      On or about January 14, 2016, Defendant and the other defendants served an Answer to

the Complaint, a copy of which is annexed hereto as Exhibit G.


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         26.      Before any further progress on the State Court Action took place, Defendant filed this

action for bankruptcy.

                                                   COUNT I

           NON-DISCHARGEABILITY OF THE DEBT OWED TO PLAINTIFF UNDER
                   SECTION 523(a)(2)(A) OF THE BANKRUPTCY CODE

         27.      Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1 through 26 of this

Complaint as if set forth at length herein.

         28.      Bankruptcy Code § 523(a)(2)(A) provides, in relevant part, that: (a) A discharge under

section 727, 1141, 1228(a), 1228(b) or 1328(b) of this title does not discharge an individual debtor from

any debt-- (2) for money, property, services, or an extension, renewal, or refinancing of credit, to the

extent obtained by -- (A) false pretenses, a false representation or actual fraud, other than a statement

respecting the debtor's or an insider's financial condition . . . .

         29.      All or part of the debt owed to Plaintiff, as evidenced by the State Court Action, is non-

dischargeable as it is a debt for money, property, services, or an extension, renewal, or refinancing of

credit, that was obtained by false pretenses, a false representation, or actual fraud within the meaning of

Bankruptcy Code § § 523(a)(2)(A).

                                                  COUNT II

                 NON-DISCHARGEABILITY OF THE DEBT OWED TO PLAINTIFF
               JUDGMENT UNDER SECTION 523(a)(4) OF THE BANKRUPTCY CODE

         30.      Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1 through 29 of this

Complaint as if set forth at length herein.

         31.      Bankruptcy Code § 523(a)(4) provides, in relevant part, that: (a) A discharge under

section 727, 1141, 1228(a), 1228(b) or 1328(b) of this title does not discharge an individual debtor from

any debt— . . . (4) for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or

larceny . . . .




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        32.      All or part of the debt owed to plaintiff, as evidenced by the State Court Action, is non-

dischargeable as it is a debt for fraud or defalcation while acting in a fiduciary capacity, embezzlement,

or larceny within the meaning of Bankruptcy Code § 523(a)(6).

                                                 COUNT III

         NON-DISCHARGEABILITY OF PLAINTIFF'S JUDGMENT UNDER SECTION
                      523(a)(6) OF THE BANKRUPTCY CODE

        33.      Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1 through 32 of this

Complaint as if set forth at length herein.

        34.      Bankruptcy Code § 523(a)(6) provides, in relevant part, that: (b) A discharge under

section 727, 1141, 1228(a), 1228(b) or 1328(b) of this title does not discharge an individual debtor from

any debt— . . . (6) or willful and malicious injury by the debtor to another entity or to the property of

another entity . . . .

        35.      All or part of the debt owed to plaintiff, as evidenced by the State Court Action, is non-

dischargeable as it is a debt for willful and malicious injury caused by the Debtor within the meaning of

Bankruptcy Code § 523(a)(6).

                                                 COUNT IV

         OBJECTION TO DEBTOR'S DISCHARGE UNDER SECTION 727(a)(3) OF THE
                              BANKRUPTCY CODE

        36.      Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1 through 35 of this

Complaint as if set forth at length herein.

        37.      Bankruptcy Code § § 727(a)(3) provides that: (a) The court shall grant the debtor a

discharge, unless . . . (3) the debtor has concealed, destroyed, mutilated, falsified, or failed to keep or

preserve any recorded information, including books, documents, records, andpapers, from which the

debtor's financial condition or business transactions might be ascertained, unless such act or failure to

act was justified under all of the circumstances of the case;




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       38.     The Debtor, in his operation of his businesses, including Arman Jewelers, Inc., Arman

Traders, Inc. and Arman & Ayan Trading Inc., operated these businesses as his alter egos, seeking to

shield himself from personal liability while at the same time using funds of these businesses for personal

purposes.

       39.     The Debtor, in his operation of his various businesses, including Arman Jewelers, Inc.,

Arman Traders, Inc. and Arman & Ayan Trading Inc., concealed, destroyed, mutilated, falsified, or

failed to keep or preserve any recorded information, including books, documents, records, and papers,

from which the Debtor's financial condition or business transactions might be ascertained.

       40.     By virtue of the foregoing, the Debtor's discharge should be denied under Bankruptcy

Code § 727(a)(3).

                                                COUNT V

         OBJECTION TO DEBTOR'S DISCHARGE UNDER SECTION 727(a)(4)(A) OF
                           THE BANKRUPTCY CODE

       41.     Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1 through 40 of this

Complaint as if set forth at length herein.

       42.     Bankruptcy Code § 727(a)(4)(A) provides that: (a) The court shall grant the debtor a

discharge, unless --- (4) the debtor knowingly and fraudulently, in or in connection with the case -- (A)

made a false oath or account.

       43.     The debtor knowingly and fraudulently, in or in connection with the case, made a false

oath or account, in that he represented in the Statement of Financial Affairs attached to his Petition that

his income was far less when in fact his actual income was much greater.

       44.     The debtor knowingly and fraudulently, in or in connection with the case, made a false

oath or account, in that he failed in the Statement of Financial Affairs attached to his Petition to provide

required information about the nature, names, taxpayer identification numbers, locations, and beginning

and end dates of all businesses in which the Debtor was an officer, director, partner or managing

executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade,

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profession or other activity either full or part-time within six years immediately preceding the

commencement of the case.

         45.    By virtue of the Debtor's false representations and omissions, and the oath he took

concerning the veracity of his submissions, the Debtor's discharge should be denied under Bankruptcy

Code § 727(a)(4)(A).

         WHEREFORE, plaintiff respectfully requests that this Court enter a Judgment determining that

the debt reflected in the State Court Action is non-dischargeable under Bankruptcy Code § §

523(a)(2)(A), 523(a)(4), and 523(a)6) or, in the alternative, denying the Debtor's discharge under

Bankruptcy Code § § 727(a)(3) and 727(a)(4)(A), and granting plaintiff such other and further relief as

this Court may deem just and proper.


Dated:    Brooklyn, New York
          July 31, 2017

                                                          Yours, etc.,

                                                          /S/Morris Fateha
                                                          ______________________________
                                                          Morris Fateha, Esq.
                                                          Law Offices of Morris Fateha
                                                          Attorneys for Plaintiff
                                                          911 Avenue U
                                                          Brooklyn, New York 11223
                                                          (718) 627-4600




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STATE OF NEW YORK  )
                   )                   ss.:
COUNTY OF NEW YORK )

        SAMI JAJATI, being duly sworn, affirms and says that:


        I am the president of Empire J Inc., plaintiff in the within action. I have read the foregoing
ADVERSARY PROCEEDING COMPLAINT and know the contents thereof, that the same is true to
the best of my own knowledge, except as to the matters therein stated to be alleged on information and
belief, and that as to those matters I believe them to be true.
        The source of deponent’s information and the grounds for my belief, as to those matters stated
upon information and belief, are my personal investigation of this matter and from records in deponent’s
file.




Dated: Brooklyn, New York
       August 4, 2017


                                                                  /S/ Sami Jajati
                                                                  _____________________________
                                                                  Sami Jajati, President of Empire J, Inc.




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